Case 7:18-cv-04675-AEK Document 123 Filed 10/21/20 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

LAURA PEGLER,
Plaintiff, 18CV4675 (LMS)
- against -
TELEVISION EQUIPMENT ASSOCIATES, INC., ORDER
et al.,
Defendants.

 

 

THE HONORABLE ANDREW E. KRAUSE, U.S.M.J.'

The Court received letters (dated October 1, 2020, and October 2, 2020) from counsel
related to the Court's Order issued on September 25, 2020. Docket #119, Because the Order
relates to the parties' settlement agreement, which is confidential, the letters are to be filed under
seal. The Clerk of the Court is respectfully directed to restrict access to these letters to the
parties of record and their attorneys.

Dated: October i@ , 2020
White Plains, New York

SO ORDERED,

(Wbreus D2 —

Andrew E. Krause
United States Magistrate Judge
Southern District of New York

 

'The Honorable Lisa Margaret Smith, U.S.M.J., who had presided over this case, retired
effective September 30, 2020. -

 
